                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo
                                                 Chapter 11
Ark Laboratory, LLC,                             Hon. Maria L. Oxholm

Debtor.

     STIPULATED ORDER ADJOURNING HEARING ON (I) DEBTOR’S
    MOTION TO APPROVE (1) BIDDING PROCEDURES AND FORM OF
      ASSET PURCHASE AGREEMENT RELATING TO THE SALE OF
   SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS; (2) THE SALE OF
  SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR
   OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES PURSUANT
   TO 11 U.S.C. §§ 105(A) AND 363; ASSUMPTION AND ASSIGNMENT OF
  EXECUTORY CONTRACTS AND UNEXPIRED LEASES PURSUANT TO
  11 U.S.C. §365; AND (4) GRANTING RELATED RELIEF [ECF NO. 145] (II)
   MOTION TO ASSUME EXECUTORY CONTRACTS AND UNEXPIRED
       LEASES [ECF NO. 153], (III) DEBTOR’S MOTION TO REJECT
           EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   SOLELY AS TO MCLAREN MEDICAL LABORATORY [ECF NO. 154],
                  AND (IV) PROVIDING RELATED RELIEF
                     1
         The Debtor, the U.S. Trustee, the Committee, Auxo, McLaren, Medical Real

  Estate and Orchard, having stipulated to the entry of this order and the Court being

  fully advised in the premises;

         IT IS ORDERED THAT:



  1
   All capitalized terms shall have the meanings ascribed to them in the Stipulation
  unless stated to the contrary herein.



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    1.      The hearing on the Sale Motion [ECF No. 145], the Assumption Motion

[ECF No. 153], and the Rejection Motion and McLaren’s objection thereto [ECF

Nos. 154, 165 and 171] shall be adjourned from August 3, 2023 at 11:00 a.m. to

August 24, 2023 at 11:00 a.m. to allow the parties time to resolve the formal and

informal objections filed to the Motions.

     2.     The deadline for the Debtor, the U.S. Trustee, Auxo and the Committee

to object to or to reply to, as applicable, to the Sale Motion [ECF No. 145], the

Assumption Motion [ECF No. 153], McLaren’s objection to the Sale Motion and the

Rejection Motion [ECF Nos. 165 and 171] and to Medical Real Estate’s and

Orchard’s objections to the Assumption Motion [ECF Nos. 156 and160] shall be

extended to be no later than 48 hours prior to the new adjourned hearing on the

Motions.

      3.    The objections of Medical Real Estate and Orchard to the Assumption

Motion [ECF Nos. 156 and 160] are hereby preserved to the adjourned sale hearing.

      4.    Auxo shall fund all unpaid budgeted expenses, from the petition date,

including during the interim period between August 3, 2023 and August 25, 2023

(the “Interim Period”) pursuant to the terms of a budget to be agreed upon and

approved by Auxo, the Debtor, the Committee and McLaren no later than August 4,

2023 (the “Interim Budget”) and filed with the Court. At a minimum, the Interim




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Budget shall expressly provide for and fund the fees of the U.S. Trustee, payroll and

taxes incurred by the Debtor during the Interim Period, the Professional Fee Carve

Out, August rent due to Medical Real Estate, and all administrative fees to be

incurred and provided for in the Interim Budget for the Interim Period; provided,

however, such being without prejudice to the Committee, the Debtor, the U.S.

Trustee or any party in interest raising issues with respect to the failure of Auxo to

previously fund, or the Debtor’s failure to pay, certain budgeted expenses prior to

the Interim Period, all of which objections are expressly preserved. Entry of this

Order does not limit the obligations of any party under the Final Cash Collateral

Order, including but not limited to paragraph 16 of ECF No. 144.

     5.      Debtor shall not incur obligations for any expenses during the Interim

Period that are not expressly provided for in the Interim Budget.

     6.      Debtor shall provide a weekly reconciliation of actual to budgeted

revenues and expenses to the U.S. Trustee, Auxo, McLaren, and the Committee by

Monday at 5:00 p.m. (Eastern Prevailing Time) for operations conducted during the

immediately preceding week.

     7.      The objections of McLaren to the Sale Motion and Rejection Motion

[ECF Nos. 154, 165 and 171] shall be preserved solely as to McLaren and no other

party.




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     8.      The executory contracts which were the subject of the Rejection Motion

with the following counter-parties are rejected as of the date of entry of this Order:

a.    Bio-Rad
b.    Data Innovations, LLC
c.    Leasing Associates of Barrington, Inc.
d.    CoreBioLabs
e.    iOpen
f.    Iron Mountain
g.    LabPath Consulting
h.    Solaris
i.    UPS

     9.      The following executory contracts which were the subject of the

Rejection Motion shall be rejected as of the date of closing on the sale contemplated

by the Sale Motion:

a.    The Sports Marketing Agency
b.    Cintas
c.    Cintas Fire Protection Services
d.    Clarity X
e.    Great Lakes Express Delivery LLC
f.    iCare
g.    Stericycle
h.    Superior Medical Waste Disposal LLC
i.    LabCorp

Notwithstanding the review, approval and filing of the Interim Budget by the

Committee, Auxo, the U.S. Trustee, the Debtor and McLaren, Auxo shall fund the

budgeted expenses for these executory contracts referenced in this paragraph 9 that

are to be kept in place until the date of closing on the sale contemplated by the Sale




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Motion.

10.   All budgeted amounts for the U.S. Trustee’s fees for the period from the

petition date through the Interim Period shall be adjusted upon request by the U.S.

Trustee to ensure that the budgeted amounts will be sufficient in light of the

anticipated or actual disbursements made or to be made by or on behalf of the

Debtor.

Signed on August 2, 2023




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